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                              UNITED STATES DISTRICT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )      Case No. 1:21-cr-00245-APM
                                            )
SHANE JENKINS,                              )
                                            )
       Defendant.                           )


               MOTION TO WITHDRAWAL AS COUNSEL OF RECORD

       Comes now John N. Pierce, counsel of record for Defendant Peter Schwartz, pursuant to

Local Rule of Criminal Procedure 44.5(d), and moves this Honorable Court for an Order granting

Defense Counsel Pierce leave to withdraw as counsel of record in this matter, and in support

thereof, respectfully states that Dennis E. Boyle and Blerina Jasari of Law Offices of Boyle and

Jasari, entered their Notice of Appearance on December 6, 202,1 on behalf of Defendant Shane

Jenkins.

Date: December 14, 2021                     Respectfully Submitted,



                                            John M. Pierce
                                            355 S. Grand Avenue, 44th Floor
                                            Los Angeles, CA 90071
                                            Tel: (213) 400-0725
                                            Email: jpierce@piercebainbridge.com
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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, December 14, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                  /s/ John M. Pierce
                                            John M. Pierce
